USCA11 Case: 23-13743    Document: 29-1     Date Filed: 08/26/2024   Page: 1 of 3




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-13743
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       ALEXANDER LESZCZYNSKI,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                      for the Middle District of Florida
                  D.C. Docket No. 8:22-cr-00371-JSM-AAS-1
                          ____________________
USCA11 Case: 23-13743       Document: 29-1       Date Filed: 08/26/2024       Page: 2 of 3




       2                        Opinion of the Court                    23-13743


       Before NEWSOM, BRANCH, and ANDERSON, Circuit Judges.
       PER CURIAM:
               Alexander Leszczynski appeals his total sentence of 210
       months’ imprisonment imposed after he entered an open plea of
       guilty to murder-for-hire in violation of 18 U.S.C. § 1958(a) and
       obstruction of justice in violation of 18 U.S.C. § 1503(a). He argues
       that the district court plainly erred in calculating his criminal
       history score for purposes of the sentencing guidelines by including
       in the calculation his prior sentences for fraud in the Middle District
       of Florida (case number 8:22-cr155-MSS-SPF) because those
       offenses were part of his current offense conduct.1
               We held this case in abeyance pending the resolution of
       Leszczynski’s separate appeal of those prior fraud convictions. We
       ultimately vacated the fraud convictions, concluding that the
       district court erred as a matter of law in denying Leszczynski’s
       motion to withdraw his guilty plea in that case. United States v.
       Leszczynski, case no. 23-13335, 2024 WL 3103305, at *3 (11th Cir.
       June 24, 2024). As a result, we agree that Leszczynski’s guideline
       range in the present case must be recalculated. See U.S.S.G.
       § 4A1.2, cmt. (n.6) (2023) (stating that “[s]entences resulting from
       convictions that . . . have been reversed or vacated because of

       1 The fraud convictions resulted in a criminal history score of three and a

       criminal history category of II. Without the fraud offenses, Leszczynski’s
       criminal history score would have been zero, resulting in a lower criminal
       history category of I and a lesser guidelines range.
USCA11 Case: 23-13743      Document: 29-1       Date Filed: 08/26/2024     Page: 3 of 3




       23-13743                Opinion of the Court                          3

       errors of law . . . are not to be counted”); see also Molina-Martinez v.
       United States, 578 U.S. 189, 198 (2016) (holding that for purposes of
       plain error review, “[w]hen a defendant is sentenced under an
       incorrect Guidelines range—whether or not the defendant’s
       ultimate sentence falls within the correct range—the error itself
       can, and most often will, be sufficient to show a reasonable
       probability of a different outcome absent the error”). Accordingly,
       we vacate his sentence and remand for further proceedings.
              VACATED AND REMANDED.
